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Prob 19
(7/03)
United States District Court
for the
District of Colorado
U.S.A. vs SCOTT LEE KIMBALL Docket No. 03-cr-00023-MSK-01

TO: ' Any United States Marshal or any other authorized officer.

 

WARRANT FOR ARREST OF PROBATIONER/SUPERVISED RELEASEE

 

You are hereby commanded to arrest the within-named defendant and bring him or her,
forthwith before the United States District Court to answer charges that he or she violated
the conditions of his or her supervision imposed by the court.

NAME OF SUBJECT SEX RACE AGE
SCOTT LEE KIMBALL Male White 39

 

 

 

 

 

ADDRESS(STREET, CITY, STATE)
14701 North Huron, #B, Broomfield, CO 80020

SENTENCE IMPOSED BY (NAME OF COURT)
The Honorable Marcia S. Krieger, U.S. District Judge

TO BE BROUGHT BEFORE (NAME OF COURT, CITY, STATE)
The Honorable Marcia S. Krieger, U.S. District Judge, Denver, Colorado

 

 

 

 

 

 

 

 

 

 

CLERK (BY) DEPUTY C K .
GREGORY C. LANGHAM JY. Kiir4-
v
RETURN
Warrant received and executed DATE RECEIVED DATE EXECUTED

 

 

 

EXECUTING AGENCY (NAME AND ADDRESS)

 

 

NAME (BY) DATE

 

 

 

 

 

 

‘Insert designation of officer to whom the warrant is issued, ¢.g., “any United States Marshal or any other authorized
officer,” or “United States Marshal for the District of Colorado;" of "any United States Marshal; or "Any Special Agent of the Federal
Bureau of Investigation;" or "any United States Marshal or any Special Agent of the Federal Bureau of Investigation;” or "any agent
of the Alcohol Tax Unit."
